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                EXHIBIT D
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  EX-4.2 3 d180860dex42.htm EX-4.2
                                                                                                                               Exhibit 4.2
                                                                                                               [EXECUTION VERSION]

                                                               $400,000,000

                                                      Quorum Health Corporation

                                                     11.625% Senior Notes due 2023

                                               REGISTRATION RIGHTS AGREEMENT

                                                                                                                            April 22, 2016

  CREDIT SUISSE SECURITIES (USA) LLC,
    As Representative of the several Initial Purchasers,
      C/O CREDIT SUISSE SECURITIES (USA) LLC
           Eleven Madison Avenue
           New York, New York 10010

  Ladies and Gentlemen:

         Quorum Health Corporation (the “Issuer” or the “Company”), a Delaware corporation, agrees with Credit Suisse Securities
  (USA) LLC, as representative (the “Representative”) of the several initial purchasers named in Schedule A hereto (the “Initial
  Purchasers”), subject to the terms and conditions set forth in a purchase agreement, dated April 8, 2016 (the “Purchase Agreement”),
  to issue and sell to the several Initial Purchasers $400,000,000 aggregate principal amount of its 11.625% Senior Notes due 2023 (the
  “Notes”) to be unconditionally guaranteed (the “Guarantees”) as to the payment of principal and interest on the Completion Date (as
  defined below) by the entities listed in Schedule I attached hereto (the “Guarantors”). The Initial Securities (as defined below) will be
  issued pursuant to an indenture, dated as of April 22, 2016 (as supplemented from time to time, the “Indenture”), among, initially, the
  Issuer and Regions Bank, an Alabama banking corporation, as trustee (in such capacity, the “Trustee”). The Initial Securities will be
  offered and sold to the Initial Purchasers pursuant to an exemption from the registration requirements of the Securities Act (as defined
  below). If any of the conditions to the release of escrowed funds described in “— Escrow of Proceeds; Escrow Conditions” of the
  “Description of the Notes” section of the Preliminary Offering Memorandum (as defined in the Purchase Agreement) will not be
  satisfied substantially concurrently with the Closing (as defined in the Purchase Agreement), (i) the Representative will deposit the
  gross proceeds from the offering of Notes by the Issuer on the Closing Date (as defined in the Purchase Agreement) into an escrow
  account (the “Escrow Account”) for the benefit of the holders of the Notes, (ii) the Issuer will deposit (or cause to be deposited) into
  the Escrow Account an amount of cash that, when taken together with the gross proceeds of the offering of the Notes deposited therein,
  will be sufficient to fund a Special Mandatory Redemption (as defined in the Purchase Agreement) of the Notes on May 31, 2016 and
  (iii) the Issuer will also deposit into the Escrow Account an amount of cash equal to five days of interest accrued on the Notes. In
  addition, on or prior to the date that is five business days prior to the last day of each month, from and including May 2016 through and
  including June 2016 (in each case, unless the Escrow Release Date (as defined in the Preliminary Offering Memorandum) has
  occurred), the Issuer will also deposit (or cause to be deposited) into the Escrow Account an amount of cash equal to the amount of
  interest that will accrue on the Notes from (and including) the first day of the following month through (and including) the last day of
  such following month (as calculated in accordance with the terms of the Indenture (as defined below)). The Escrow Account will be
  governed by an escrow agreement (the “Escrow Agreement”) to be dated as of the Closing Date, among the Issuer, the Trustee and
  Regions Bank, an Alabama banking corporation, as escrow agent (the “Escrow Agent”). If all of the conditions set forth in the Escrow
  Agreement are satisfied, the escrowed funds will be released as described in the Escrow Agreement (the date of such release (or under
  the circumstances described in the following sentence of this paragraph, the Closing




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  Date) is referred to herein as the “Completion Date”). If all of the conditions to the release of escrowed funds described in “— Escrow
  of Proceeds; Escrow Conditions” of the “Description of the Notes” section of the Preliminary Offering Memorandum will be satisfied
  substantially concurrently with the Closing, (i) the Escrow Account deposit and related procedures described in the Preliminary
  Offering Memorandum will not be implemented, (ii) the Notes will not be subject to any Special Mandatory Redemption provisions
  and (iii) the “Completion Date” will be deemed to be the Closing Date for all purposes hereunder. On the Completion Date, the Spin-
  Off (as defined in the Purchase Agreement) will be consummated and the Guarantors will execute a supplemental indenture to the
  Indenture. On the Completion Date, the Guarantors will join this Agreement by execution and delivery to the Representative of the
  joinder attached hereto as Annex A (the “Registration Rights Joinder”), pursuant to which the Guarantors shall obtain the same rights
  and be subject to the same obligations as though they each had entered into this Agreement on the date hereof. If the Issuer redeems the
  Notes pursuant to the Special Mandatory Redemption provided for under the Indenture, then the consummation of such redemption
  shall cause this Agreement to automatically terminate, with no further obligations of the parties hereunder. As used herein, prior to the
  Completion Date, references to the “Initial Securities” refer only to the Notes, and on and after the Completion Date, such references
  shall refer to the Notes and the Guarantees.

        As an inducement to the Initial Purchasers, the Company agrees and, upon execution and delivery of the Registration Rights
  Joinder, the Guarantors will agree with the Initial Purchasers, for the benefit of the holders of the Initial Securities (including, without
  limitation, the Initial Purchasers), the Exchange Securities (as defined below) and the Private Exchange Securities (as defined below)
  (collectively, the “Holders”), as follows:

         1. Registered Exchange Offer. The Company shall, at its own cost, prepare and, not later than 365 days after the date of the
  original issue of the Initial Securities (the “Issue Date” and such date 365 days thereafter, the “Target Date”), file with the Securities
  and Exchange Commission (the “Commission”) a registration statement (the “Exchange Offer Registration Statement”) on an
  appropriate form under the Securities Act of 1933, as amended (the “Securities Act”), with respect to a proposed offer (the
  “Registered Exchange Offer”) to the Holders of Transfer Restricted Securities (as defined in Section 6 hereof), who are not prohibited
  by any law or policy of the Commission from participating in the Registered Exchange Offer, to issue and deliver to such Holders, in
  exchange for the Initial Securities, a like aggregate principal amount of debt securities (the “Exchange Securities”) of the Company
  issued under the Indenture and substantially identical to the Initial Securities (except for the transfer restrictions relating to the Initial
  Securities and the provisions relating to the matters described in Section 6 hereof) and registered under the Securities Act. Unless not
  permitted by applicable law or Commission policy, the Company shall (i) cause such Exchange Offer Registration Statement to
  become effective under the Securities Act, (ii) keep the Exchange Offer Registration Statement effective for not less than 30 days (or
  longer, if required by applicable law) after the date notice of the Registered Exchange Offer is mailed to the Holders (such period being
  called the “Exchange Offer Registration Period”) and (iii) cause the Registered Exchange Offer to be completed, in each case, not
  later than the Target Date. For purposes of this Agreement, “business day” shall mean a day other than a Saturday, Sunday or other day
  on which banking institutions are authorized or required by law to close in New York City.

       If the Company effects the Registered Exchange Offer, the Company will be entitled to consummate the Registered Exchange
  Offer 30 days after the commencement thereof; provided that the Company has accepted all the Initial Securities theretofore validly
  tendered in accordance with the terms of the Registered Exchange Offer.

       Following the declaration of the effectiveness of the Exchange Offer Registration Statement, unless not permitted by applicable
  law or Commission policy, the Company shall promptly commence the Registered Exchange Offer, it being the objective of such
  Registered Exchange Offer to enable each Holder of Transfer Restricted Securities (as defined in Section 6 hereof) electing to
  exchange the Initial Securities for Exchange Securities (assuming that such Holder is not an affiliate of the Company within the
  meaning of the Securities Act, acquires the Exchange Securities in the ordinary course of such Holder’s business and has no
  arrangements with any person to participate in the distribution of the Exchange

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  Securities and is not prohibited by any law or policy of the Commission from participating in the Registered Exchange Offer) to trade
  such Exchange Securities from and after their receipt without any limitations or restrictions under the Securities Act and without
  material restrictions under the securities laws of the several states of the United States.

        The Company acknowledges that, pursuant to current interpretations by the Commission’s staff of Section 5 of the Securities Act,
  in the absence of an applicable exemption therefrom, (i) each Holder which is a broker-dealer electing to exchange Initial Securities,
  acquired for its own account as a result of market making activities or other trading activities, for Exchange Securities (an
  “Exchanging Dealer”), is required to deliver a prospectus containing the information set forth in (a) Annex B hereto on the cover, (b)
  Annex C hereto in the “Exchange Offer Procedures” section and the “Purpose of the Exchange Offer” section, and (c) Annex D
  hereto in the “Plan of Distribution” section of such prospectus in connection with a sale of any such Exchange Securities received by
  such Exchanging Dealer pursuant to the Registered Exchange Offer and (ii) an Initial Purchaser that elects to sell Exchange Securities
  acquired in exchange for Initial Securities constituting any portion of an unsold allotment is required to deliver a prospectus containing
  the information required by Items 507 or 508 of Regulation S-K under the Securities Act, as applicable, in connection with such sale.

        The Company shall use commercially reasonable efforts to keep the Exchange Offer Registration Statement effective and to
  amend and supplement the prospectus contained therein, in order to permit such prospectus to be lawfully delivered by all persons
  subject to the prospectus delivery requirements of the Securities Act for such period of time as such persons must comply with such
  requirements in order to resell the Exchange Securities; provided, however, that (i) in the case where such prospectus and any
  amendment or supplement thereto must be delivered by an Exchanging Dealer or an Initial Purchaser, such period shall be the lesser of
  (x) 180 days from the date on which the Exchange Offer Registration Statement is declared effective and (y) the date on which all
  Exchanging Dealers and the Initial Purchasers have sold all Exchange Securities held by them (unless such period is extended pursuant
  to Section 3(j) below) and (ii) the Company shall make such prospectus and any amendment or supplement thereto available upon
  request to any broker-dealer for use in connection with any resale of any Exchange Securities for a period of not less than 180 days
  after the consummation of the Registered Exchange Offer.

        If, upon consummation of the Registered Exchange Offer, any Initial Purchaser holds Initial Securities acquired by it as part of its
  initial distribution, the Company, simultaneously with the delivery of the Exchange Securities pursuant to the Registered Exchange
  Offer, shall issue and deliver to such Initial Purchaser upon the written request of such Initial Purchaser, in exchange (the “Private
  Exchange”) for the Initial Securities held by such Initial Purchaser, a like principal amount of debt securities of the Company issued
  under the Indenture and identical in all material respects (including the existence of restrictions on transfer under the Securities Act and
  the securities laws of the several states of the United States, but excluding provisions relating to the matters described in Section 6
  hereof) to the Initial Securities (the “Private Exchange Securities”). The Initial Securities, the Exchange Securities and the Private
  Exchange Securities are herein collectively called the “Securities”.

       In connection with the Registered Exchange Offer, the Company shall:
            (a) mail to each Holder a copy of the prospectus forming part of the Exchange Offer Registration Statement, together with an
       appropriate letter of transmittal and related documents;
            (b) keep the Registered Exchange Offer open for not less than 30 days (or longer, if required by applicable law) after the
       date notice thereof is mailed to the Holders;
            (c) utilize the services of a depositary for the Registered Exchange Offer with an address in the Borough of Manhattan, The
       City of New York, which may be the Trustee or an affiliate of the Trustee;

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                 (d) permit Holders to withdraw tendered Initial Securities at any time prior to the close of business, New York time, on the
           last business day on which the Registered Exchange Offer shall remain open; and
                (e) otherwise comply with all applicable laws.

           As soon as practicable after the close of the Registered Exchange Offer or the Private Exchange, as the case may be, the Company
  shall:
                (x) accept for exchange all the Initial Securities validly tendered and not withdrawn pursuant to the Registered Exchange
           Offer or the Private Exchange, as the case may be;
                (y) deliver to the Trustee for cancellation all the Initial Securities so accepted for exchange; and
                (z) cause the Trustee to authenticate and deliver promptly to each Holder of the Initial Securities, Exchange Securities or
           Private Exchange Securities, as the case may be, equal in principal amount to the Initial Securities of such Holder so accepted for
           exchange.

       The Indenture will provide that the Exchange Securities will not be subject to the transfer restrictions set forth in the Indenture
  and that all the Securities will vote and consent together on all matters as one class and that none of the Securities will have the right to
  vote or consent as a class separate from one another on any matter.

        Interest on each Exchange Security and Private Exchange Security issued pursuant to the Registered Exchange Offer and in the
  Private Exchange will accrue from the last interest payment date on which interest was paid on the Initial Securities surrendered in
  exchange therefor or, if no interest has been paid on the Initial Securities, from the initial date on which interest began to accrue on the
  Initial Securities.

         Each Holder participating in the Registered Exchange Offer shall be required to represent in writing (which may be contained in
  the applicable letter of transmittal) to the Company that at the time of the consummation of the Registered Exchange Offer (i) any
  Exchange Securities received by such Holder will be acquired in the ordinary course of business, (ii) such Holder will have no
  arrangements or understanding with any person to participate in the distribution of the Securities or the Exchange Securities within the
  meaning of the Securities Act, (iii) such Holder is not an “affiliate,” as defined in Rule 405 of the Securities Act, of the Company,
  (iv) if such Holder is not a broker-dealer, that it is not engaged in, and does not intend to engage in, the distribution of the Exchange
  Securities and (v) if such Holder is a broker-dealer, that it will receive Exchange Securities for its own account in exchange for Initial
  Securities that were acquired as a result of market-making activities or other trading activities and that it will be required to
  acknowledge that it will deliver a prospectus in connection with any resale of such Exchange Securities.

       Notwithstanding any other provisions hereof, the Company will ensure that (i) any Exchange Offer Registration Statement and
  any amendment thereto and any prospectus forming a part thereof and any supplement thereto complies as to form in all material
  respects with the Securities Act and the rules and regulations thereunder, (ii) any Exchange Offer Registration Statement and any
  amendment thereto does not, when it becomes effective, contain an untrue statement of a material fact or omit to state a material fact
  required to be stated therein or necessary to make the statements therein not misleading and (iii) any prospectus forming part of any
  Exchange Offer Registration Statement, and any supplement to such prospectus, does not include an untrue statement of a material fact
  or omit to state a material fact required to be stated therein or necessary in order to make the statements therein, in the light of the
  circumstances under which they were made, not misleading.

       2. Shelf Registration. If, (i) because of any change in law or in applicable interpretations thereof by the staff of the Commission,
  the Company is not permitted to effect a Registered Exchange Offer, as

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  contemplated by Section 1 hereof, (ii) the Registered Exchange Offer is not consummated by the Target Date, (iii) any Initial Purchaser
  so requests in writing with respect to the Initial Securities (or the Private Exchange Securities) not eligible to be exchanged for
  Exchange Securities in the Registered Exchange Offer and held by it following consummation of the Registered Exchange Offer or (iv)
  any Holder notifies the Company in writing that it (A) is prohibited by applicable law or Commission policy from participating in the
  Registered Exchange Offer, or (B) may not resell the Exchange Securities acquired by it in the Registered Exchange Offer to the public
  without delivering a prospectus (other than an Exchanging Dealer), then the Company shall take the following actions:
             (a) The Company shall, at its cost, as promptly as practicable file with the Commission and thereafter shall use its reasonable
       best efforts to cause to be declared effective (unless it becomes effective automatically upon filing) a registration statement (the
       “Shelf Registration Statement” and, together with the Exchange Offer Registration Statement, a “Registration Statement”) on
       an appropriate form under the Securities Act relating to the offer and sale of the Transfer Restricted Securities (as defined in
       Section 6 hereof) by the Holders thereof (x) in the case of clause (i) above, on or prior to the 335th day after the Issue Date or (y)
       in the case of clause (ii), (iii) or (iv) above, on or prior to the 90th day after the date on which such Shelf Registration Statement is
       required or requested to be filed, in each case in accordance with the methods of distribution set forth in the Shelf Registration
       Statement and Rule 415 under the Securities Act (hereinafter, the “Shelf Registration”); provided, however, that no Holder (other
       than an Initial Purchaser) shall be entitled to have the Securities held by it covered by such Shelf Registration Statement unless
       such Holder agrees in writing to be bound by all the provisions of this Agreement applicable to such Holder.
             (b) The Company shall use its reasonable best efforts to keep the Shelf Registration Statement continuously effective in
       order to permit the prospectus included therein to be lawfully delivered by the Holders of the relevant Securities, until the earlier
       of (x) one year from the date such Shelf Registration Statement is first declared effective and (y) the date on which all the
       Securities registered under the Shelf Registration Statement have been disposed of in accordance therewith (the “Shelf
       Registration Period”). The Company shall be deemed not to have used its reasonable best efforts to keep the Shelf Registration
       Statement effective during the requisite period if it voluntarily takes any action that would result in Holders of Securities covered
       thereby not being able to offer and sell such Securities during that period, unless (i) such action is required by applicable law or
       (ii) such action is taken by the Company in good faith and for valid business reasons (not including avoidance of the Company’s
       obligations hereunder), including, but not limited to, the acquisition or divestiture of assets, so long as the Company promptly
       thereafter complies with the requirements of Section 3(j) hereof, if applicable.
            (c) Notwithstanding any other provisions of this Agreement to the contrary, the Company shall cause the Shelf Registration
       Statement and the related prospectus and any amendment or supplement thereto, as of the effective date of the Shelf Registration
       Statement, amendment or supplement, (i) to comply in all material respects with the applicable requirements of the Securities Act
       and the rules and regulations of the Commission and (ii) not to contain any untrue statement of a material fact or omit to state a
       material fact required to be stated therein or necessary in order to make the statements therein, in light of the circumstances under
       which they were made, not misleading.

       3. Registration Procedures. In connection with any Shelf Registration contemplated by Section 2 hereof and, to the extent
  applicable, any Registered Exchange Offer contemplated by Section 1 hereof, the following provisions shall apply:
            (a) The Company shall (i) furnish to each Initial Purchaser, prior to the filing thereof with the Commission, a copy of the
       Registration Statement and each amendment thereof and each supplement, if any, to the prospectus included therein and, in the
       event that an Initial Purchaser (with respect to any portion of an unsold allotment from the original offering) is participating in

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       the Registered Exchange Offer or the Shelf Registration Statement, the Company shall use its reasonable best efforts to reflect in
       each such document, when so filed with the Commission, such comments as such Initial Purchaser reasonably may propose; (ii)
       include the information set forth in Annex B hereto on the cover, in Annex C hereto in the “Exchange Offer Procedures” section
       and the “Purpose of the Exchange Offer” section and in Annex D hereto in the “Plan of Distribution” section of the prospectus
       forming a part of the Exchange Offer Registration Statement and include the information set forth in Annex E hereto in the Letter
       of Transmittal delivered pursuant to the Registered Exchange Offer; (iii) if requested by an Initial Purchaser in writing, include
       the information required by Items 507 or 508 of Regulation S-K under the Securities Act, as applicable, in the prospectus forming
       a part of the Exchange Offer Registration Statement; (iv) include within the prospectus contained in the Exchange Offer
       Registration Statement a section entitled “Plan of Distribution,” reasonably acceptable to the Initial Purchasers, which shall
       contain a summary statement of the positions taken or policies made by the staff of the Commission with respect to the potential
       “underwriter” status of any broker-dealer that is the beneficial owner (as defined in Rule 13d-3 under the Securities Exchange Act
       of 1934, as amended (the “Exchange Act”)) of Exchange Securities received by such broker-dealer in the Registered Exchange
       Offer (a “Participating Broker-Dealer”), whether such positions or policies have been publicly disseminated by the staff of the
       Commission or such positions or policies, in the reasonable judgment of the Initial Purchasers based upon advice of counsel
       (which may be in-house counsel), represent the prevailing views of the staff of the Commission; and (v) in the case of a Shelf
       Registration Statement, include in the prospectus included in the Shelf Registration Statement (or, if permitted by Commission
       Rule 430B(b), in a prospectus supplement that becomes a part thereof pursuant to Commission Rule 430B(f)) that is delivered to
       any Holder pursuant to Section 3(d) and (f), the names of the Holders, who propose to sell Securities pursuant to the Shelf
       Registration Statement, as selling securityholders.
            (b) The Company shall give written notice to the Initial Purchasers, the Holders of the Securities and any Participating
       Broker-Dealer from whom the Company has received prior written notice that it will be a Participating Broker-Dealer in the
       Registered Exchange Offer (which notice pursuant to clauses (ii)-(v) hereof shall be accompanied by an instruction to suspend the
       use of the prospectus until the requisite changes have been made):
                 (i) when the Registration Statement or any amendment thereto has been filed with the Commission and when the
             Registration Statement or any post-effective amendment thereto has become effective;
                  (ii) of any request by the Commission for amendments or supplements to the Registration Statement or the prospectus
             included therein or for additional information;
                  (iii) of the issuance by the Commission of any stop order suspending the effectiveness of the Registration Statement or
             the initiation of any proceedings for that purpose, of the issuance by the Commission of a notification of objection to the use
             of the form on which the Registration Statement has been filed, and of the happening of any event that causes the Company
             to become an “ineligible issuer,” as defined in Commission Rule 405;
                  (iv) of the receipt by the Company or its legal counsel of any notification with respect to the suspension of the
             qualification of the Securities for sale in any jurisdiction or the initiation or threatening of any proceeding for such purpose;
             and
                  (v) of the happening of any event during the period that the Registration Statement is effective that requires the
             Company to make changes in the Registration Statement or the prospectus in order that the Registration Statement or the
             prospectus do not contain an untrue statement of a material fact nor omit to state a material fact required to be stated therein
             or necessary to make the statements therein (in the case of the prospectus, in light of the circumstances under which they
             were made) not misleading.

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            (c) The Company shall make every reasonable effort to obtain the withdrawal at the earliest possible time, of any order
       suspending the effectiveness of the Registration Statement.
             (d) The Company shall furnish to each Holder of Securities included within the coverage of the Shelf Registration who so
       requests in writing, without charge, at least one copy of the Shelf Registration Statement and any post-effective amendment or
       supplement thereto, including financial statements and schedules, and, if the Holder so requests, all exhibits thereto (including
       those, if any, incorporated by reference). The Company shall not, without the prior consent of the Initial Purchasers, make any
       offer relating to the Securities that would constitute a “free writing prospectus,” as defined in Commission Rule 405.
            (e) The Company shall upon request deliver to each Exchanging Dealer and each Initial Purchaser, and to any other Holder
       who so requests, without charge, at least one copy of the Exchange Offer Registration Statement and any post-effective
       amendment thereto, including financial statements and schedules, and, if any Initial Purchaser or any such Holder requests, all
       exhibits thereto (including those incorporated by reference).
            (f) The Company shall, during the Shelf Registration Period, deliver to each Holder of Securities included within the
       coverage of the Shelf Registration, without charge, as many copies of the prospectus (including each preliminary prospectus)
       included in the Shelf Registration Statement and any amendment or supplement thereto as such person may reasonably request.
       The Company consents, subject to the provisions of this Agreement, to the use of the prospectus or any amendment or
       supplement thereto by each of the selling Holders of the Securities in connection with the offering and sale of the Securities
       covered by the prospectus, or any amendment or supplement thereto, included in the Shelf Registration Statement.
             (g) The Company shall deliver to each Initial Purchaser, any Exchanging Dealer, any Participating Broker-Dealer and such
       other persons required to deliver a prospectus following the Registered Exchange Offer, without charge, as many copies of the
       final prospectus included in the Exchange Offer Registration Statement and any amendment or supplement thereto as such
       persons may reasonably request. The Company consents, subject to the provisions of this Agreement, to the use of the prospectus
       or any amendment or supplement thereto by any Initial Purchaser, if necessary, any Participating Broker-Dealer and such other
       persons required to deliver a prospectus following the Registered Exchange Offer in connection with the offering and sale of the
       Exchange Securities covered by the prospectus, or any amendment or supplement thereto, included in such Exchange Offer
       Registration Statement.
             (h) Prior to any public offering of the Securities pursuant to any Registration Statement, the Company shall use its
       reasonable best efforts to register or qualify or cooperate with the Holders of the Securities included therein and their respective
       counsel in connection with the registration or qualification of the Securities for offer and sale under the securities or “blue sky”
       laws of such states of the United States as any Holder of the Securities reasonably requests in writing and do any and all other
       acts or things necessary or advisable to enable the offer and sale in such jurisdictions of the Securities covered by such
       Registration Statement; provided, however, that the Company shall not be required to (i) qualify generally to do business or as a
       dealer in Securities in any jurisdiction where it is not then so qualified or (ii) take any action that would subject it to general
       service of process or to taxation in any jurisdiction where it is not then so subject.
             (i) The Company shall cooperate with the Holders of the Securities to facilitate the timely preparation and delivery of
       certificates representing the Securities to be sold pursuant to any Registration Statement free of any restrictive legends and in such
       denominations and registered in such names as the Holders may request a reasonable period of time prior to sales of the Securities
       pursuant to such Registration Statement.

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             (j) Upon the occurrence of any event contemplated by paragraphs (ii) through (v) of Section 3(b) above during the period for
       which the Company is required to maintain an effective Registration Statement, the Company shall promptly prepare and file a
       post-effective amendment to the Registration Statement or a supplement to the related prospectus and any other required
       document so that, as thereafter delivered to Holders of the Securities or purchasers of Securities, the prospectus will not contain
       an untrue statement of a material fact or omit to state any material fact required to be stated therein or necessary to make the
       statements therein, in light of the circumstances under which they were made, not misleading. If the Company notifies the Initial
       Purchasers, the Holders of the Securities and any known Participating Broker-Dealer in accordance with paragraphs (ii) through
       (v) of Section 3(b) above to suspend the use of the prospectus until the requisite changes to the prospectus have been made, then
       the Initial Purchasers, the Holders of the Securities and any such Participating Broker-Dealers shall suspend use of such
       prospectus, and the period of effectiveness of the Shelf Registration Statement provided for in Section 2(b) above and the
       Exchange Offer Registration Statement provided for in Section 1 above shall each be extended by the number of days from and
       including the date of the giving of such notice to and including the date when the Initial Purchasers, the Holders of the Securities
       and any known Participating Broker-Dealer shall have received such amended or supplemented prospectus pursuant to this
       Section 3(j). During the period during which the Company is required to maintain an effective Shelf Registration Statement
       pursuant to this Agreement, the Company will prior to the three-year expiration of that Shelf Registration Statement file, and use
       its reasonable best efforts to cause to be declared effective (unless it becomes effective automatically upon filing) within a period
       that avoids any interruption in the ability of Holders of Securities covered by the expiring Shelf Registration Statement to make
       registered dispositions, a new registration statement relating to the Securities, which shall be deemed the “Shelf Registration
       Statement” for purposes of this Agreement.
             (k) Not later than the effective date of the applicable Registration Statement, the Company will provide a CUSIP number for
       the Initial Securities, the Exchange Securities or the Private Exchange Securities, as the case may be.
            (l) The Company will comply with all rules and regulations of the Commission to the extent and so long as they are
       applicable to the Registered Exchange Offer or the Shelf Registration and will make generally available to its security holders (or
       otherwise provide in accordance with Section 11(a) of the Securities Act) an earnings statement satisfying the provisions of
       Section 11(a) of the Securities Act, no later than 45 days after the end of a 12-month period (or 90 days, if such period is a fiscal
       year) beginning with the first month of the Company’s first fiscal quarter commencing after the effective date of the Registration
       Statement, which statement shall cover such 12-month period.
             (m) The Company shall cause the Indenture to be qualified under the Trust Indenture Act of 1939, as amended, in a timely
       manner and containing such changes, if any, as shall be necessary for such qualification. In the event that such qualification
       would require the appointment of a new trustee under the Indenture, the Company shall appoint a new trustee thereunder pursuant
       to the applicable provisions of the Indenture.
            (n) The Company may require each Holder of Securities to be sold pursuant to the Shelf Registration Statement to furnish to
       the Company such information regarding the Holder and the distribution of the Securities as the Company may from time to time
       reasonably require for inclusion of the Holder in the Shelf Registration Statement, including requiring the Holder to properly
       complete and execute such selling security Holder notice and questionnaires, and any amendments or supplements thereto, as the
       Company may reasonably deem necessary or appropriate, and the Company may exclude from such registration the Securities of
       any Holder that fails to furnish such information within a reasonable time after receiving such request.

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             (o) The Company shall enter into such customary agreements (including, if requested in connection with an underwritten
       offering, an underwriting agreement in customary form) and take all such other action, if any, as any Holder of the Securities shall
       reasonably request in order to facilitate the disposition of the Securities pursuant to any Shelf Registration.
             (p) In the case of any Shelf Registration, the Company shall (i) make reasonably available for inspection by the Holders of
       the Securities, any underwriter participating in any disposition pursuant to the Shelf Registration Statement and any attorney,
       accountant or other agent retained by the Holders of the Securities or any such underwriter at all reasonable times and in a
       reasonable manner all relevant financial and other records, pertinent corporate documents and properties of the Company and (ii)
       cause the Company’s officers, directors, employees, accountants and auditors to supply all relevant information reasonably
       requested by the Holders of the Securities or any such underwriter, attorney, accountant or agent in connection with the Shelf
       Registration Statement, in each case, as shall be reasonably necessary to enable such persons, to conduct a reasonable
       investigation within the meaning of Section 11 of the Securities Act; provided, however, that the foregoing inspection and
       information gathering shall be coordinated on behalf of the Initial Purchasers by you and on behalf of the other parties, by one
       counsel designated by and on behalf of such other parties as described in Section 4 hereof; and provided further, however, that any
       information that is designated in writing by the Company, in good faith, as confidential at the time of delivery of such information
       shall be kept confidential by each such person, unless (A) the disclosure of such information is necessary to avoid or correct a
       material misstatement or material omission in such Registration Statement or prospectus, (B) such disclosure is made in
       connection with a court proceeding, to any governmental or regulatory authority having jurisdiction over each such person or
       their respective affiliates, or is reasonably necessary in order to establish a “due diligence” defense” pursuant to Section 11 of the
       Securities Act or (C) such information becomes available to the public generally or through a third party without an
       accompanying obligation of confidentiality.
              (q) In the case of any Shelf Registration, the Company, if requested by any Holder of Securities covered thereby, shall cause
       (i) its counsel to deliver an opinion and updates thereof relating to the Securities in customary form (which counsel and opinions
       (in form, scope and substance) shall be reasonably satisfactory to the managing underwriters, if any) addressed to such Holders
       and the managing underwriters, if any, thereof and dated, in the case of the initial opinion, the effective date of such Shelf
       Registration Statement covering such matters as are customarily covered in opinions given in connection with underwritten
       offerings and such other matters as may be reasonably requested by such holders and managing underwriters, if any; (ii) its
       officers to execute and deliver all customary documents and certificates and updates thereof requested by any underwriters of the
       applicable Securities and (iii) its independent public accountants and the independent public accountants with respect to any other
       entity for which financial information is provided in the Shelf Registration Statement to provide to the selling Holders of the
       applicable Securities and any underwriter therefor a comfort letter in customary form and covering matters of the type
       customarily covered in comfort letters in connection with primary underwritten offerings, subject to receipt of appropriate
       documentation as contemplated, and only if permitted, by AU Section 634 of the Interim Accounting Standards of the Public
       Company Accounting Oversight Board.
            (r) In the case of the Registered Exchange Offer, if requested by any Initial Purchaser or any known Participating Broker-
       Dealer, the Company shall cause (i) its counsel to deliver to such Initial Purchaser or such Participating Broker-Dealer a signed
       opinion in the form set forth in Sections 5(p), 7(c) and 7(d) of the Purchase Agreement with such changes as are customary in
       connection with the preparation of a Registration Statement and (ii) its independent public accountants and the independent public
       accountants with respect to any other entity for which

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       financial information is provided in the Registration Statement to deliver to such Initial Purchaser or such Participating Broker-
       Dealer a comfort letter, in customary form, meeting the requirements as to the substance thereof as set forth in Section 7(a) of the
       Purchase Agreement, with appropriate date changes.
            (s) If a Registered Exchange Offer or a Private Exchange is to be consummated, upon delivery of the Initial Securities by
       Holders to the Company (or to such other Person as directed by the Company) in exchange for the Exchange Securities or the
       Private Exchange Securities, as the case may be, the Company shall mark, or cause to be marked, on the Initial Securities so
       exchanged that such Initial Securities are being canceled in exchange for the Exchange Securities or the Private Exchange
       Securities, as the case may be; in no event shall the Initial Securities be marked as paid or otherwise satisfied.
             (t) The Company will use its reasonable best efforts to (a) if the Initial Securities have been rated prior to the initial sale of
       such Initial Securities, confirm such ratings will apply to the Securities covered by a Registration Statement, or (b) if the Initial
       Securities were not previously rated, cause the Securities covered by a Registration Statement to be rated with the appropriate
       rating agencies, in any such case if so requested by Holders of a majority in aggregate principal amount of Securities covered by
       such Registration Statement, or by the managing underwriters, if any.
             (u) In the event that any broker-dealer registered under the Exchange Act shall underwrite any Securities or participate as a
       member of an underwriting syndicate or selling group or “assist in the distribution” (within the meaning of the Conduct Rules
       (the “Rules”) of the Financial Industry Regulatory Authority, Inc. thereof, whether as a Holder of such Securities or as an
       underwriter, a placement or sales agent or a broker or dealer in respect thereof, or otherwise, the Company will cooperate with
       such broker-dealer in complying with the requirements of such Rules, including, without limitation, by (i) if such Rules, including
       Rule 5121, shall so require, engaging a “qualified independent underwriter” (as defined in Rule 5121) to participate in the
       preparation of the Registration Statement relating to such Securities, to exercise usual standards of due diligence in respect thereto
       and, if any portion of the offering contemplated by such Registration Statement is an underwritten offering or is made through a
       placement or sales agent, to recommend the yield of such Securities, (ii) indemnifying any such qualified independent underwriter
       to the extent of the indemnification of underwriters provided in Section 5 hereof and (iii) providing such information to such
       broker-dealer as may be required in order for such broker-dealer to comply with the requirements of the Rules.
            (v) The Company shall use its commercially reasonable efforts to take all other steps necessary to effect the registration of
       the Securities covered by a Registration Statement contemplated hereby.

        4. Registration Expenses. The Company shall bear all fees and expenses incurred in connection with the performance of its
  obligations under Sections 1 through 3 hereof (including the reasonable fees and expenses, if any, of Cravath, Swaine & Moore LLP,
  counsel for the Initial Purchasers, incurred in connection with the Registered Exchange Offer), whether or not the Registered Exchange
  Offer or a Shelf Registration is filed or becomes effective, and, in the event of a Shelf Registration, shall bear or reimburse the Holders
  of the Securities covered thereby for the reasonable fees and disbursements of one firm of counsel designated by the Holders of a
  majority in principal amount of the Initial Securities covered thereby to act as counsel for the Holders of the Initial Securities in
  connection therewith.

        5. Indemnification. (a) The Company agrees to indemnify and hold harmless each Holder of the Securities, any Participating
  Broker-Dealer and each person, if any, who controls such Holder or such Participating Broker-Dealer within the meaning of the
  Securities Act or the Exchange Act (each Holder, any Participating Broker-Dealer and such controlling persons are referred to
  collectively as the “Indemnified Parties”) from and against any losses, claims, damages or liabilities, joint or several, or any

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  actions in respect thereof (including, but not limited to, any losses, claims, damages, liabilities or actions relating to purchases and sales
  of the Securities) to which each Indemnified Party may become subject under the Securities Act, the Exchange Act or otherwise,
  insofar as such losses, claims, damages, liabilities or actions arise out of or are based upon any untrue statement or alleged untrue
  statement of a material fact contained in a Registration Statement or prospectus or in any amendment or supplement thereto or in any
  preliminary prospectus or “issuer free writing prospectus,” as defined in Commission Rule 433 (“Issuer FWP”), relating to a Shelf
  Registration, or arise out of, or are based upon, the omission or alleged omission to state therein a material fact required to be stated
  therein or necessary to make the statements therein not misleading, and shall reimburse, as incurred, the Indemnified Parties for any
  legal or other expenses reasonably incurred by them in connection with investigating or defending any such loss, claim, damage,
  liability or action in respect thereof; provided, however, that (i) the Company shall not be liable in any such case to the extent that such
  loss, claim, damage or liability arises out of or is based upon any untrue statement or alleged untrue statement or omission or alleged
  omission made in a Registration Statement or prospectus or in any amendment or supplement thereto or in any preliminary prospectus
  or Issuer FWP relating to a Shelf Registration in reliance upon and in conformity with written information pertaining to such
  Indemnified Party and furnished to the Company by or on behalf of such Indemnified Party specifically for inclusion therein and
  (ii) with respect to any untrue statement or omission or alleged untrue statement or omission made in any preliminary prospectus
  relating to a Shelf Registration Statement, the indemnity agreement contained in this subsection (a) shall not inure to the benefit of any
  Holder or Participating Broker-Dealer from whom the person asserting any such losses, claims, damages or liabilities purchased the
  Securities concerned, to the extent that a prospectus relating to such Securities was required to be delivered (including through
  satisfaction of the conditions of Commission Rule 172) by such Holder or Participating Broker-Dealer under the Securities Act in
  connection with such purchase and any such loss, claim, damage or liability of such Holder or Participating Broker-Dealer results from
  the fact that there was not conveyed to such person, at or prior to the time of the sale of such Securities to such person, an amended or
  supplemented prospectus or, if permitted by Section 3(d), an Issuer FWP correcting such untrue statement or omission or alleged
  untrue statement or omission if the Company had previously furnished copies thereof to such Holder or Participating Broker-Dealer;
  provided further, however, that this indemnity agreement will be in addition to any liability that the Company may otherwise have to
  such Indemnified Party. The Company shall also indemnify underwriters, their officers and directors and each person who controls
  such underwriters within the meaning of the Securities Act or the Exchange Act to the same extent as provided above with respect to
  the indemnification of the Holders of the Securities if requested by such Holders.

        (b) Each Holder of the Securities, severally and not jointly, will indemnify and hold harmless the Company and each person, if
  any, who controls the Company within the meaning of the Securities Act or the Exchange Act from and against any losses, claims,
  damages or liabilities or any actions in respect thereof, to which the Company or any such controlling person may become subject
  under the Securities Act, the Exchange Act or otherwise, insofar as such losses, claims, damages, liabilities or actions arise out of or
  are based upon any untrue statement or alleged untrue statement of a material fact contained in a Registration Statement or prospectus
  or in any amendment or supplement thereto or in any preliminary prospectus or Issuer FWP relating to a Shelf Registration, or arise out
  of or are based upon the omission or alleged omission to state therein a material fact necessary to make the statements therein not
  misleading, but in each case only to the extent that the untrue statement or omission or alleged untrue statement or omission was made
  in reliance upon and in conformity with written information pertaining to such Holder and furnished to the Company by or on behalf of
  such Holder specifically for inclusion therein; and, subject to the limitation set forth immediately preceding this clause, shall
  reimburse, as incurred, the Company for any legal or other expenses reasonably incurred by the Company or any such controlling
  person in connection with investigating or defending any loss, claim, damage, liability or action in respect thereof. This indemnity
  agreement will be in addition to any liability that such Holder may otherwise have to the Company or any of its controlling persons.

       (c) Promptly after receipt by an indemnified party under this Section 5 of notice of the commencement of any action or
  proceeding (including a governmental investigation), such indemnified party will, if a claim in respect thereof is to be made against the
  indemnifying party under this Section 5,

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  notify the indemnifying party of the commencement thereof; provided, however, that the failure to notify the indemnifying party shall
  not relieve the indemnifying party from any liability that it may have under subsection (a) or (b) above except to the extent that it has
  been materially prejudiced (through the forfeiture of substantive rights or defenses) by such failure; and provided further, however, that
  the failure to notify the indemnifying party shall not relieve it from any liability that it may have to an indemnified party otherwise than
  under subsection (a) or (b) above. In case any such action is brought against any indemnified party, and it notifies the indemnifying
  party of the commencement thereof, the indemnifying party will be entitled to participate therein and, to the extent that it may wish,
  jointly with any other indemnifying party similarly notified, to assume the defense thereof, with counsel reasonably satisfactory to such
  indemnified party (who shall not, except with the consent of the indemnified party, be counsel to the indemnifying party), and after
  notice from the indemnifying party to such indemnified party of its election so to assume the defense thereof the indemnifying party
  will not be liable to such indemnified party under this Section 5 for any legal or other expenses, other than reasonable costs of
  investigation, subsequently incurred by such indemnified party in connection with the defense thereof. No indemnifying party shall,
  without the prior written consent of the indemnified party, provided that such consent is not unreasonably withheld or delayed; effect
  any settlement of any pending or threatened action in respect of which any indemnified party is or could have been a party and
  indemnity could have been sought hereunder by such indemnified party unless such settlement (i) includes an unconditional release of
  such indemnified party from all liability on any claims that are the subject matter of such action, and (ii) does not include a statement
  as to or an admission of fault, culpability or a failure to act by or on behalf of any indemnified party.

        (d) If the indemnification provided for in this Section 5 is unavailable or insufficient to hold harmless an indemnified party under
  subsections (a) or (b) above, then each indemnifying party shall contribute to the amount paid or payable by such indemnified party as
  a result of the losses, claims, damages or liabilities (or actions in respect thereof) referred to in subsection (a) or (b) above (i) in such
  proportion as is appropriate to reflect the relative benefits received by the indemnifying party or parties on the one hand and the
  indemnified party on the other from the exchange of the Securities, pursuant to the Registered Exchange Offer, or (ii) if the allocation
  provided by the foregoing clause (i) is not permitted by applicable law, in such proportion as is appropriate to reflect not only the
  relative benefits referred to in clause (i) above but also the relative fault of the indemnifying party or parties on the one hand and the
  indemnified party on the other in connection with the statements or omissions that resulted in such losses, claims, damages or liabilities
  (or actions in respect thereof) as well as any other relevant equitable considerations. The relative fault of the parties shall be determined
  by reference to, among other things, whether the untrue or alleged untrue statement of a material fact or the omission or alleged
  omission to state a material fact relates to information supplied by the Company on the one hand or such Holder or such other
  indemnified party, as the case may be, on the other, and the parties’ relative intent, knowledge, access to information and opportunity to
  correct or prevent such statement or omission. The amount paid by an indemnified party as a result of the losses, claims, damages or
  liabilities referred to in the first sentence of this subsection (d) shall be deemed to include any legal or other expenses reasonably
  incurred by such indemnified party in connection with investigating or defending any action or claim that is the subject of this
  subsection (d). Notwithstanding any other provision of this Section 5(d), the Holders of the Securities shall not be required to
  contribute any amount in excess of the amount by which the net proceeds received by such Holders from the sale of the Securities
  pursuant to a Registration Statement exceeds the amount of damages that such Holders have otherwise been required to pay by reason
  of such untrue or alleged untrue statement or omission or alleged omission. No person guilty of fraudulent misrepresentation (within
  the meaning of Section 11(f) of the Securities Act) shall be entitled to contribution from any person who was not guilty of such
  fraudulent misrepresentation. For purposes of this paragraph (d), each person, if any, who controls such indemnified party within the
  meaning of the Securities Act or the Exchange Act shall have the same rights to contribution as such indemnified party and each
  person, if any, who controls the Company within the meaning of the Securities Act or the Exchange Act shall have the same rights to
  contribution as the Company.

        (e) The agreements contained in this Section 5 shall survive the sale of the Securities pursuant to a Registration Statement and
  shall remain in full force and effect, regardless of any termination or cancellation of this Agreement or any investigation made by or on
  behalf of any indemnified party.

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         6. Additional Interest Under Certain Circumstances. (a) Additional interest (the “Additional Interest”) with respect to the
  Transfer Restricted Securities shall be assessed as follows if any of the following events occur (each such event in clauses (i) through
  (iii) below a “Registration Default”):
             (i) if the Registered Exchange Offer is not consummated on or before the Target Date;
            (ii) if obligated to file a Shelf Registration Statement pursuant to clause (ii), (iii) or (iv) of Section 2 above, the Shelf
       Registration Statement is not declared effective by the Commission on or prior to the 120th day after the date on which the
       obligation to file a Shelf Registration Statement arises; or
             (iii) after either the Exchange Offer Registration Statement or the Shelf Registration Statement, as the case may be, is
       declared (or becomes automatically) effective and during the period when such Exchange Offer Registration Statement or Shelf
       Registration Statement is required to be kept effective, (A) such Registration Statement ceases to be effective; or (B) such
       Registration Statement or the related prospectus ceases to be usable (except as permitted in paragraph (b) below) in connection
       with resales of Transfer Restricted Securities because either (1) any event occurs as a result of which the related prospectus
       forming part of such Registration Statement would include any untrue statement of a material fact or omit to state any material
       fact necessary to make the statements therein in the light of the circumstances under which they were made not misleading, (2) it
       shall be necessary to amend such Registration Statement or supplement the related prospectus, to comply with the Securities Act
       or the Exchange Act or the respective rules thereunder, or (3) such Registration Statement is a Shelf Registration Statement that
       has expired before a replacement Shelf Registration Statement has become effective.

  Additional Interest shall accrue on the Transfer Restricted Securities over and above the interest set forth in the title of the Securities
  from and including the date on which any such Registration Default shall occur to but excluding the date on which all such
  Registration Defaults have been cured, at a rate of 0.25% per annum for the first 90-day period immediately following the occurrence
  of a Registration Default, and such rate will increase by an additional 0.25% per annum with respect to each subsequent 90-day period
  until all Registration Defaults have been cured, up to a maximum additional interest rate of 1.0% per annum.

        (b) A Registration Default referred to in Section 6(a)(iii)(B) hereof shall be deemed not to have occurred and be continuing in
  relation to a Shelf Registration Statement or the related prospectus if (i) such Registration Default has occurred solely as a result of (x)
  the filing of a post-effective amendment to such Shelf Registration Statement to incorporate annual audited financial information with
  respect to the Company where such post-effective amendment is not yet effective and needs to be declared effective to permit Holders
  to use the related prospectus or (y) other material events, with respect to the Company that would need to be described in such Shelf
  Registration Statement or the related prospectus and (ii) in the case of clause (y), the Company is proceeding promptly and in good
  faith to amend or supplement such Shelf Registration Statement and related prospectus to describe such events; provided, however, that
  in any case if such Registration Default occurs for a continuous period in excess of 30 days, Additional Interest shall be payable in
  accordance with the above paragraph from the day such Registration Default occurs until such Registration Default is cured.

        (c) Any amounts of Additional Interest due pursuant to clause (i) through (iii) of Section 6(a) above will be payable in cash on the
  regular interest payment dates with respect to the Transfer Restricted Securities. The amount of Additional Interest will be determined
  by multiplying the applicable Additional Interest rate by the principal amount of the Transfer Restricted Securities, multiplied by a
  fraction, the numerator of which is the number of days such Additional Interest rate was applicable during such period (determined on
  the basis of a 360-day year comprised of twelve 30-day months), and the denominator of which is 360.

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        (d) “Transfer Restricted Securities” means each Security until the earliest of (i) the date on which such Security has been
  exchanged by a person other than a broker-dealer for a freely transferable Exchange Security in the Registered Exchange Offer, (ii)
  following the exchange by a broker-dealer in the Registered Exchange Offer of an Initial Security for an Exchange Security, the date on
  which such Exchange Security is sold to a purchaser who receives from such broker-dealer on or prior to the date of such sale a copy of
  the prospectus contained in the Exchange Offer Registration Statement and (iii) the date on which such Initial Security has been
  effectively registered under the Securities Act and disposed of in accordance with the Shelf Registration Statement.

        (e) Notwithstanding the foregoing in this Section 6, for purposes of clarification, the amount of Additional Interest payable shall
  not increase because more than one Registration Default has occurred and is pending.

        7. Commission Rules 144 and 144A. So long as it is required to do so by the Indenture, the Company shall use its reasonable best
  efforts to file the reports required to be filed by it under the Securities Act and the Exchange Act in a timely manner. If at any time the
  Company is not required to file such reports, it will, upon the reasonable request of any Holder of Initial Securities, make publicly
  available other information so long as necessary to permit sales of their securities pursuant to Commission Rules 144 and 144A. The
  Company covenants that it will take such further action as any Holder of Initial Securities may reasonably request, all to the extent
  required from time to time to enable such Holder to sell Initial Securities without registration under the Securities Act within the
  limitation of the exemptions provided by Commission Rules 144 and 144A (including the requirements of Commission Rule 144A(d)
  (4)). The Company will provide a copy of this Agreement to prospective purchasers of Initial Securities identified to the Company by
  the Initial Purchasers upon request. Upon the request of any Holder of Initial Securities, the Company shall deliver to such Holder a
  written statement as to whether it has complied with such requirements. Notwithstanding the foregoing, nothing in this Section 7 shall
  be deemed to require the Company to register any of its securities pursuant to the Exchange Act.

       8. Underwritten Registrations. If any of the Transfer Restricted Securities covered by any Shelf Registration are to be sold in an
  underwritten offering, the investment banker or investment bankers and manager or managers that will administer the offering
  (“Managing Underwriters”) will be selected by the Holders of a majority in aggregate principal amount of such Transfer Restricted
  Securities to be included in such offering.

       No person may participate in any underwritten registration hereunder unless such person (i) agrees to sell such person’s Transfer
  Restricted Securities on the basis reasonably provided in any underwriting arrangements approved by the persons entitled hereunder to
  approve such arrangements and (ii) completes and executes all questionnaires, powers of attorney, indemnities, underwriting
  agreements and other documents reasonably required under the terms of such underwriting arrangements.

       9. Miscellaneous.

       (a) Amendments and Waivers. The provisions of this Agreement may not be amended, modified or supplemented, and waivers or
  consents to departures from the provisions hereof may not be given, except by the Company and the written consent of the Holders of a
  majority in principal amount of the Securities affected by such amendment, modification, supplement, waiver or consents.

       (b) Joinders. On the Completion Date, the Issuer shall cause the Guarantors to join this Agreement by executing and delivering to
  the Representatives the Registration Rights Joinder.

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         (c) Notices. All notices and other communications provided for or permitted hereunder shall be made in writing by hand delivery,
  first-class mail, facsimile transmission, or air courier which guarantees overnight delivery:

             (1) if to a Holder of the Securities, at the most current address given by such Holder to the Company.

             (2) if to the Initial Purchasers, as follows:
                   CREDIT SUISSE SECURITIES (USA) LLC
                   Eleven Madison Avenue
                   New York, NY 10010-3629
                   Attention: LCD-IBD
                   with a copy to:
                   CRAVATH, SWAINE & MOORE LLP
                   Worldwide Plaza
                   825 Eighth Avenue
                   New York, NY 10019-7475
                   Facsimile No.: (212) 474-3700
                   Attention: Joseph D. Zavaglia, Esq.

       (3) if to the Company, at its address as follows:
                   QUORUM HEALTH CORPORATION
                   1573 Mallory Lane, Suite 100
                   Brentwood, Tennessee 37027
                   Attention: General Counsel
                   with a copy to:
                   BASS, BERRY & SIMS PLC
                   150 Third Avenue
                   Suite 2800
                   Nashville, TN 37201
                   Facsimile No.: (615) 742-2701
                                    (615) 742-0449
                   Attention: Leigh Walton, Esq.
                              Jay H. Knight, Esq.

       All such notices and communications shall be deemed to have been duly given: at the time delivered by hand, if personally
  delivered; three business days after being deposited in the mail, postage prepaid, if mailed; when receipt is acknowledged by recipient’s
  facsimile machine operator, if sent by facsimile transmission; and on the day delivered, if sent by overnight air courier guaranteeing
  next day delivery.

        (c) No Inconsistent Agreements. The Company has not, as of the date hereof, entered into, nor shall it, on or after the date hereof,
  enter into, any agreement with respect to its securities that is inconsistent with the rights granted to the Holders herein or otherwise
  conflicts with the provisions hereof.

       (d) Successors and Assigns. This Agreement shall be binding upon the Company and its successors and assigns.

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        (e) Counterparts. This Agreement may be executed in any number of counterparts and by the parties hereto in separate
  counterparts (including by facsimile or electronic image scan), each of which when so executed shall be deemed to be an original and
  all of which taken together shall constitute one and the same agreement.

      (f) Headings. The headings in this Agreement are for convenience of reference only and shall not limit or otherwise affect the
  meaning hereof.

     (g) Governing Law. THIS AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE
  LAWS OF THE STATE OF NEW YORK WITHOUT REGARD TO PRINCIPLES OF CONFLICTS OF LAWS.

        (h) Severability. If any one or more of the provisions contained herein, or the application thereof in any circumstance, is held
  invalid, illegal or unenforceable, the validity, legality and enforceability of any such provision in every other respect and of the
  remaining provisions contained herein shall not be affected or impaired thereby.

       (i) Securities Held by the Company. Whenever the consent or approval of Holders of a specified percentage of principal amount
  of Securities is required hereunder, Securities held by the Company or its affiliates (other than subsequent Holders of Securities if such
  subsequent Holders are deemed to be affiliates solely by reason of their holdings of such Securities) shall not be counted in
  determining whether such consent or approval was given by the Holders of such required percentage.

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        If the foregoing is in accordance with your understanding of our agreement, please sign and return to the Company a counterpart
  hereof, whereupon this instrument, along with all counterparts, will become a binding agreement on the date hereof among the several
  Initial Purchasers and the Company in accordance with its terms.

                                                                                         Very truly yours,

                                                                                         Quorum Health Corporation

                                                                                   By: /s/ Thomas D. Miller
                                                                                       Name: Thomas D. Miller
                                                                                       Title: President and Chief Executive Officer

                                          [Signature Page to the Registration Rights Agreement]




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  The foregoing Registration Rights Agreement is
  hereby confirmed and accepted as of the date first
  above written.

  CREDIT SUISSE SECURITIES (USA) LLC,

  By: /s/ Priyanka Verma
      Name: Priyanka Verma
      Title: Director

      Acting on behalf of itself and as the
      Representative of the several Initial Purchasers

                                          [Signature Page to the Registration Rights Agreement]




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                                                              SCHEDULE A

                                                            Initial Purchasers

                                                   Credit Suisse Securities (USA) LLC
                                                   UBS Securities LLC
                                                   Citigroup Global Markets Inc.
                                                   J.P. Morgan Securities LLC
                                                   Merrill Lynch, Pierce, Fenner & Smith
                                                                 Incorporated
                                                   RBC Capital Markets, LLC
                                                   SunTrust Robinson Humphrey, Inc.
                                                   Wells Fargo Securities, LLC
                                                   Credit Agricole Securities (USA) Inc.
                                                   Deutsche Bank Securities Inc.
                                                   Fifth Third Securities, Inc.




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                                                                                                                               ANNEX A

                                                      Quorum Health Corporation

                                              $400,000,000 11.625% Senior Notes due 2023

                                                 REGISTRATION RIGHTS JOINDER

                                                                                                                            April 29, 2016

  CREDIT SUISSE SECURITIES (USA) LLC,
    As Representative of the several Initial Purchasers,
      C/O CREDIT SUISSE SECURITIES (USA) LLC
           Eleven Madison Avenue
           New York, New York 10010

  Ladies and Gentlemen:

              Reference is made to the Registration Rights Agreement (the “Registration Rights Agreement”) dated April 22, 2016,
  among Quorum Health Corporation, a Delaware corporation (the “Issuer” or the “Company”), and the several Initial Purchasers listed
  on Schedule A thereto (the “Initial Purchasers”), for whom Credit Suisse Securities (USA) LLC is acting as representative (in such
  capacity, the “Representative”), concerning certain registration rights provisions with respect to the $400,000,000 aggregate principal
  amount of 11.625% Senior Notes due 2023 issued by the Issuer. Capitalized terms used and not otherwise defined herein have the
  meanings ascribed to them in the Registration Rights Agreement. This agreement (this “Registration Rights Joinder”) is the
  “Registration Rights Joinder” referred to in the Registration Rights Agreement.

             Each of the Guarantors, for good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
  hereby agrees to join, and to become bound by the terms, conditions, covenants, agreements, indemnities and other provisions of, the
  Registration Rights Agreement as a “Guarantor”, in each case with all attendant rights, duties and obligations stated therein, with the
  same force and effect as if originally a party thereto, and as if such party executed the Registration Rights Agreement on the date
  thereof.




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             If the foregoing is in accordance with your understanding, please indicate your acceptance of this Registration Rights
  Joinder by signing in the space provided below.

                                                                                    Very truly yours,

                                                                                    [Subsidiary Guarantor Signature Blocks]

                                      [Signature Page to the Registration Rights Agreement Joinder]

                                                                    A-2




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  The foregoing Registration Rights Joinder is hereby
  accepted as of the date first above written.

  CREDIT SUISSE SECURITIES (USA) LLC,

  By:
        Name:
        Title:

        Acting on behalf of itself and as Representative
        of the several Initial Purchasers

                                        [Signature Page to the Registration Rights Agreement Joinder]

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                                                                                                                                ANNEX B

        Each broker-dealer that receives Exchange Securities for its own account pursuant to the Exchange Offer must acknowledge that
  it will deliver a prospectus in connection with any resale of such Exchange Securities. The Letter of Transmittal states that by so
  acknowledging and by delivering a prospectus, a broker-dealer will not be deemed to admit that it is an “underwriter” within the
  meaning of the Securities Act. This Prospectus, as it may be amended or supplemented from time to time, may be used by a broker-
  dealer in connection with resales of Exchange Securities received in exchange for Initial Securities where such Initial Securities were
  acquired by such broker-dealer as a result of market-making activities or other trading activities. The Company has agreed that, for a
  period of 180 days after the Expiration Date (as defined herein), it will make this Prospectus available to any broker-dealer for use in
  connection with any such resale. See “Plan of Distribution.”




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                                                                                                                              ANNEX C

       Each broker-dealer that receives Exchange Securities for its own account in exchange for Securities, where such Initial Securities
  were acquired by such broker-dealer as a result of market-making activities or other trading activities, must acknowledge that it will
  deliver a prospectus in connection with any resale of such Exchange Securities. See “Plan of Distribution.”




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                                                                                                                                 ANNEX D

                                                        PLAN OF DISTRIBUTION

        Each broker-dealer that receives Exchange Securities for its own account pursuant to the Exchange Offer must acknowledge that
  it will deliver a prospectus in connection with any resale of such Exchange Securities. This Prospectus, as it may be amended or
  supplemented from time to time, may be used by a broker-dealer in connection with resales of Exchange Securities received in
  exchange for Initial Securities where such Initial Securities were acquired as a result of market-making activities or other trading
  activities. The Company has agreed that, for a period of 180 days after the Expiration Date, it will make this prospectus, as amended or
  supplemented, available to any broker-dealer for use in connection with any such resale. In addition, until           , 201[●] (90 days
  after the date of this prospectus), all dealers effecting transactions in the Exchange Securities may be required to deliver a prospectus.

        The Company will not receive any proceeds from any sale of Exchange Securities by broker-dealers. Exchange Securities
  received by broker-dealers for their own account pursuant to the Exchange Offer may be sold from time to time in one or more
  transactions in the over-the-counter market, in negotiated transactions, through the writing of options on the Exchange Securities or a
  combination of such methods of resale, at market prices prevailing at the time of resale, at prices related to such prevailing market
  prices or negotiated prices. Any such resale may be made directly to purchasers or to or through brokers or dealers who may receive
  compensation in the form of commissions or concessions from any such broker-dealer or the purchasers of any such Exchange
  Securities. Any broker-dealer that resells Exchange Securities that were received by it for its own account pursuant to the Exchange
  Offer and any broker or dealer that participates in a distribution of such Exchange Securities may be deemed to be an “underwriter”
  within the meaning of the Securities Act and any profit on any such resale of Exchange Securities and any commission or concessions
  received by any such persons may be deemed to be underwriting compensation under the Securities Act. The Letter of Transmittal
  states that, by acknowledging that it will deliver and by delivering a prospectus, a broker-dealer will not be deemed to admit that it is
  an “underwriter” within the meaning of the Securities Act.

       For a period of 180 days after the Expiration Date the Company will promptly send additional copies of this Prospectus and any
  amendment or supplement to this Prospectus to any broker-dealer that requests such documents in the Letter of Transmittal. The
  Company has agreed to pay all expenses incident to the Exchange Offer (including the expenses of one counsel for the Holders of the
  Securities) other than commissions or concessions of any brokers or dealers and will indemnify the Holders of the Securities (including
  any broker-dealers) against certain liabilities, including liabilities under the Securities Act.




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     CHECK HERE IF YOU ARE A BROKER-DEALER AND WISH TO RECEIVE 10 ADDITIONAL COPIES OF THE
  PROSPECTUS AND 10 COPIES OF ANY AMENDMENTS OR SUPPLEMENTS THERETO.

                                           Name:
                                           Address:


  If the undersigned is not a broker-dealer, the undersigned represents that it is not engaged in, and does not intend to engage in, a
  distribution of Exchange Securities. If the undersigned is a broker-dealer that will receive Exchange Securities for its own account in
  exchange for Initial Securities that were acquired as a result of market-making activities or other trading activities, it acknowledges that
  it will deliver a prospectus in connection with any resale of such Exchange Securities; however, by so acknowledging and by delivering
  a prospectus, the undersigned will not be deemed to admit that it is an “underwriter” within the meaning of the Securities Act.




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                                                              SCHEDULE I

                                                        List of QHC Guarantors

                                Guarantor                                                Jurisdiction of Organization
                       Anna Hospital Corporation                                                    IL
                     Big Bend Hospital Corporation                                                  TX
                    Big Spring Hospital Corporation                                                 TX
                  Blue Island Hospital Company, LLC                                                 DE
                   Blue Island Illinois Holdings, LLC                                               DE
                  Blue Ridge Georgia Holdings, LLC                                                  DE
                      Centre Hospital Corporation                                                   AL
                      Clinton Hospital Corporation                                                  PA
                          CSRA Holdings, LLC                                                        DE
                      Deming Hospital Corporation                                                   NM
                               DHSC, LLC                                                            DE
                     Evanston Hospital Corporation                                                  WY
             Forrest City Arkansas Hospital Company, LLC                                            AR
                   Forrest City Hospital Corporation                                                AR
                    Fort Payne Hospital Corporation                                                 AL
                     Galesburg Hospital Corporation                                                 IL
                   Granite City Hospital Corporation                                                IL
              Granite City Illinois Hospital Company, LLC                                           IL
                     Greenville Hospital Corporation                                                AL
                          Hamlet H.M.A., LLC                                                        NC
                        Hospital of Barstow, Inc.                                                   DE
                         Hospital of Louisa, Inc.                                                   KY
                  Jackson Hospital Corporation (KY)                                                 KY
                     Lexington Hospital Corporation                                                 TN
                      Marion Hospital Corporation                                                   IL
               Massillon Community Health System LLC                                                DE
                      Massillon Health System LLC                                                   DE
                        Massillon Holdings, LLC                                                     DE
             McKenzie Tennessee Hospital Company, LLC                                               DE
                         MMC of Nevada, LLC                                                         DE
                           Monroe HMA, LLC                                                          GA
                         MWMC Holdings, LLC                                                         DE
                National Healthcare of Mt. Vernon, Inc.                                             DE
                      Phillips Hospital Corporation                                                 AR
                     QHC California Holdings, LLC                                                   DE
                         QHG of Massillon, Inc.                                                     OH




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               Quorum Health Investment Company, LLC                                           DE
                   Quorum Health Resources, LLC                                                DE
                    Red Bud Hospital Corporation                                               IL
               Red Bud Illinois Hospital Company, LLC                                          IL
                   San Miguel Hospital Corporation                                             NM
                   Sunbury Hospital Company, LLC                                               DE
                     Tooele Hospital Corporation                                               UT
                         Triad of Oregon, LLC                                                  DE
                   Watsonville Hospital Corporation                                            DE
                    Waukegan Hospital Corporation                                              IL
               Waukegan Illinois Hospital Company, LLC                                         IL
                   Williamston Hospital Corporation                                            NC
                          Winder HMA, LLC                                                      GA

                                                               Schedule I - 2




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